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 7                          THE UNITED STATES DISTRICT COURT
 8
                               FOR THE DISTRICT OF ARIZONA
 9
   Facebook, Inc., a Delaware corporation;             No. 2:20-cv-00470-GMS
10 Instagram, LLC, a Delaware limited liability
11 company; and WhatsApp, Inc., a Delaware
   corporation,                                        MOTION FOR LEAVE TO FILE BRIEF
12                                                     OF AMICUS CURIAE
13                            Plaintiffs,

14 vs.
15
16 Namecheap, Inc., a Delaware corporation, and
   Whoisguard, Inc., a Republic of Panama
17 corporation,
18
                                Defendants.
19
           NOYB – European Center for Digital Rights (“NOYB”) hereby moves this Court for
20
21 leave to file a brief as amicus curiae in support of Defendants in the above captioned matter. A
22 copy of NOYB’s proposed brief has been lodged with the Court simultaneously herewith.
23
           I.       STANDARD OF REVIEW.
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           The decision to grant, or deny, amicus briefing lies solely within a district court’s
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 1 jurisdiction, Center for Biological Diversity v. United States Bureau of Land Management,
 2 No. 09-CV -8011-PCT-PGR, 2010 WL 145 2863, at *2 (D. Ariz. Apr. 12, 2010), but “[a]n
 3
     amicus brief should normally be allowed when … the amicus has unique information or
 4
     perspective that can help the court beyond the help that the lawyers for the parties are able to
 5
 6 provide. Cmty. Ass’n for Restoration of Env’t (CARE) v. DeRuyter Bros. Dairy, 54 F. Supp. 2d
 7 974, 975 (E.D. Wash 1999). An amicus curiae “serves only for the benefit of the court,
 8
     assisting the court in cases of general public interest by making suggestions to the court, by
 9
     providing supplementary assistance to existing counsel, and by insuring a complete and
10
11 plenary presentation of difficult issues so that the court may reach a proper decision.” Newark
12 Branch, N.A.A.C.P. v. Town of Harrison, N.J., 940 F.2d 792, 808 (3d Cir. 1991); see also
13
     Funbus Sys., Inc. v. State of Cal. Pub. Utilities Comm'n., 801 F.2d 1120, 1125 (9th Cir. 1986)
14
     (amici fulfill the classic role of amicus curiae by assisting in a case of general public interest,
15
16 supplementing the efforts of counsel, and drawing the court's attention to law that might
17 otherwise escape consideration”) (citing Miller-Wohl Co. v. Commissioner of Labor &
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     Industry, 694 F.2d 203, 204 (9th Cir.1982)).
19
            II.    IDENTITY AND INTEREST OF PROPOSED AMICUS CURIAE.
20
21          NOYB is a non-profit association established under the laws of Austria with its

22 registered offices at Goldschlagstraße 172/4/3/2, 1140 Vienna, Austria, and the association
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     number (“ZVR-Zahl”) 1354838270. NOYB’s aim is to promote public awareness in the areas
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             Case 2:20-cv-00470-GMS Document 43 Filed 09/11/20 Page 3 of 6




 1 of freedom, democracy and consumer protection in the digital sphere with a focus on
 2 enforcing consumer rights, the fundamental rights to privacy and self-determination, data
 3
     protection, freedom of expression, freedom of information, human rights and the fundamental
 4
     right to an effective legal remedy. NOYB also aims to promote relevant adult education
 5
 6 (popular education), research and science. NOYB pursues these purposes objectively,
 7 independently, and directly for the public benefit. The primary method NOYB uses to pursue
 8
     these purposes is through preparation and implementation of litigation (in particular, pursuant
 9
     to Article 80 of the EU General Data Protection Regulation, Regulation (EU) 2016/697 (the
10
11 “GDPR,” attached as Exhibit A to the proposed brief), which grants NOYB the right to
12 represent individuals before courts and supervisory authorities).
13
           NOYB works towards a harmonized application, enforcement and interpretation of the
14
     GDPR by the various instances applying it (namely the data protection authorities and the
15
16 courts in the EU).
17         The instant case rests, in part, on the question of whether the GDPR requires
18
     WhoisGuard to turn over its customer information to Plaintiffs upon demand, subject to the
19
     Plaintiffs’ “legitimate interest” in such customer information. “Legitimate interest” is a legal
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21 term of art under the GDPR that triggers a strict balancing test. It is one of the six exhaustive
22 legal bases that may be relied upon for the processing of personal data. As such, its proper
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              Case 2:20-cv-00470-GMS Document 43 Filed 09/11/20 Page 4 of 6




 1 understanding is central to the correct application of the GDPR to a wide range of processing
 2 activities.
 3
            In the proposed brief, NOYB seeks to aid this Court’s consideration of the parties’
 4
     submissions in two ways: first, by discussing the European understanding of “legitimate
 5
 6 interest” under the GDPR and the application of the triggered balancing test; and, second, by
 7 discussing the wider implications of how the proposed brief could be relied upon by other U.S.
 8
     courts seeking to understand this central element of the GDPR in other disputes.
 9
            Pursuant to Fed. R. App. P. 29(4), counsel hereby avers:
10
11          1.     The proposed brief has not been authored in whole or in part by any party to the

12 case or their counsel;
13
            2.     No party or party’s counsel has contributed money to fund preparing or
14
     submitting the brief; and
15
16          3.     No one other than NOYB, its members or its counsel, has provided the financial

17 resources for the preparation and submission of the brief.
18
            III.   CONCLUSION.
19
            NOYB’s interest in the matter follows from the non-profit’s purpose of promoting and
20
21 enforcing the rights to data protection, privacy, and an effective legal remedy. As such, it
22 seeks to share its longstanding understanding of the GDPR with the Court, and respectfully
23
     requests that the Court accept its brief for filing and consideration.
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 1         RESPECTFULLY SUBMITTED this 11th day of September, 2020.
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 8
 9
10
11                                 CERTIFICATE OF SERVICE
12
           I hereby certify that on September 11th, 2020, I electronically transmitted the attached
13
14 document to the Clerk’s Office using the ECF System for filing and transmittal of Notice of
15 Electronic Filing to the following ECF registrants:
16         A courtesy copy of the Notice of Electronic Filing was also mailed on this same date to
17
     the following addresses:
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